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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION
                                     HAYDEN HEAD
                        SENIOR U. S. DISTRICT JUDGE, VISITING


UNITED STATES OF AMERICA                             §
                                                     §
v.                                                   §       CRIMINAL NO. 11-299
                                                     §       SECTION HH
AARON F. BROUSSARD                                   §
THOMAS G. WILKINSON                                  §



                             ORDER DENYING DEFENDANTS’
                               MOTIONS FOR RECUSAL


       Pending before the Court are Defendants’ motions to recuse the United States Attorney’s

Office for the Eastern District of Louisiana—or, alternatively, certain members of its staff—from

prosecuting this case. (D.E. 82, 90). Defendants’ requests for recusal are DENIED.

       “‘The disqualification of Government counsel is a drastic measure and a court should

hesitate to impose it except where necessary.’” United States v. Bolden, 353 F.3d 870, 878 (10th

Cir. 2003); see also In re Harris County, Texas, 240 Fed.Appx. 644 (5th Cir. 2007)

(unpublished) (following Bolden). In fact, “disqualifying an entire United States Attorney’s

office is almost always reversible error regardless of the underlying merits of the case” and

“every circuit court that has considered the disqualification of an entire United States Attorney’s

office has reversed the disqualification.” Id. at 876, 879. The “generally accepted remedy” is

disqualification of specific individual Assistant United States Attorneys, and not the entire
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office.” Id. at 879–80 (if disqualification is to occur, it should be based on specific factual

findings and legal conclusions as to each attorney).

        The Court recognizes that the United States Attorney’s Office has voluntarily recused

itself in United States v. Fazzio (2:11-cr-157, pending in the Eastern District of Louisiana) based

on the improper extrajudicial comments of former Assistant United States Attorney Salvador

Perricone. On public revelation of his professional indiscretions, Mr. Perricone has resigned

from the United States Attorney’s Office for the Eastern District of Louisiana. Mr. Perricone

was not and obviously cannot be the prosecutor in this case. Other Assistant United States

Attorneys have not made such similar public comments as Mr. Perricone’s or otherwise

indicated personal bias in this case. Whatever involvement Mr. Perricone had in this case, it is

so tangential that it is insignificant.

        Furthermore, this prosecution is separate from the prosecution of Mr. Fazzio. The

government has satisfied the Court that the Fazzio and the Broussard/Wilkinson prosecutions are

distinct. The prosecution of Mr. Fazzio is for conspiracy, money laundering, intimidation, and

fraud against the United States. Defendants Broussard and Wilkinson are being prosecuted for

payroll fraud. Witnesses do not overlap. In its briefing in the case against Defendants Broussard

and Wilkinson, the government stated that “[n]either Fazzio, River Birch, or any of its principles

are charged in this case, nor are they going to play any role in the upcoming trial of this matter.”

(D.E. 94 at 2). It also stated that these outside matters involve “other individuals” and “separate

charges,” having “no factual bearing on the payroll fraud scheme charged here.” (D.E. 94 at 3).




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       The Court finds that there is no lawful basis to warrant the extraordinary remedy of

disqualification of the entire office or certain individuals within the office. Accordingly,

Defendants’ motions to disqualify (D.E. 82, 90) are DENIED.

               ORDERED this 26th day of July, 2012.




                                              ____________________________________
                                              HAYDEN HEAD
                                              SENIOR UNITED STATES DISTRICT JUDGE




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